       Case 3:20-cv-05671-JD Document 704-4 Filed 10/11/24 Page 1 of 2




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 8                             UNITED STATES DISTRICT COURT

 9                          NORTHERN DISTRICT OF CALIFORNIA

10                                 SAN FRANCISCO DIVISION

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12 IN RE GOOGLE PLAY STORE
   ANTITRUST LITIGATION,                      Case No. 3:21-md-02981-JD
13
   THIS DOCUMENT RELATES TO:                  [PROPOSED] ORDER RE: GOOGLE’S
14                                            MOTION FOR PARTIAL STAY OF
                                              PERMANENT INJUNCTION PENDING
15 Epic Games, Inc. v. Google LLC et al.,
   Case No. 3:20-cv-05671-JD                  APPEAL
16
                                              Judge:   Hon. James Donato
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       [PROPOSED] ORDER RE: GOOGLE’S MOTION FOR PARTIAL STAY OF PERMANENT INJUNCTION
                                          PENDING APPEAL
                             Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
       Case 3:20-cv-05671-JD Document 704-4 Filed 10/11/24 Page 2 of 2




 1         Defendants Google LLC, et al. have filed a Motion for Partial Stay of Permanent

 2 Injunction Pending Appeal.

 3         Having fully considered the papers, the arguments of counsel, and good cause appearing

 4 therefore:

 5         IT IS HEREBY ORDERED that Defendants’ Motion for Partial Stay of Permanent

 6 Injunction Pending Appeal is GRANTED. Accordingly, all provisions of the Court’s Permanent

 7 Injunction dated October 7, 2024 except ¶ 8 (Dkt. 1017) are hereby STAYED until the mandate of

 8 the Ninth Circuit has issued and any Supreme Court review of this Court’s injunction is finally

 9 resolved.

10         SO ORDERED.

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14 Dated: ____________, 2024
                                                 Honorable James Donato
15
                                                 United States District Judge
16                                               Northern District of California

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       [PROPOSED] ORDER RE: GOOGLE’S MOTION FOR PARTIAL STAY OF PERMANENT INJUNCTION
                                          PENDING APPEAL
                             Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
